      2:18-cv-00008-MBS           Date Filed 01/02/18   Entry Number 1      Page 1 of 5




                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF SOUTH CAROLINA
                              CHARLESTON DIVISION


Okra, LLC and Goldfinger, Inc.,         )       Civil Action No: 2:18-cv-8-MBS
                                        )
                    Plaintiffs,         )
                                        )
vs.                                     )                   NOTICE OF REMOVAL
                                        )
Randem, Inc., d/b/a Peach State )
Distributing Company, Riley H. Moseley, )
III, and Elizabeth Moseley,             )
                                        )
                    Defendants.         )

TO:    THE UNITED STATES DISTRICT COURT FOR THE DISTRICT OF SOUTH
       CAROLINA, CHARLESTON DIVISION:

       Pursuant to 28 U.S.C. §§ 1332, 1441, and 1446, Defendants Randem, Inc. d/b/a Peach

State Distributing Company                   Riley H. Moseley, III, and Elizabeth Moseley



County, South Carolina, to the United States District Court for the District of South Carolina.

The grounds for removal are as follows:

                                    NATURE OF THE CASE

       1.     The removed case is a civil action initially filed on November 29, 2017 by

Plaintiffs Okra, LLC and Goldfinger, Inc.               s

Charleston County, South Carolina, styled Okra, LLC and Goldfinger, Inc. vs Randem, Inc.,

d/b/a Peach State Distributing Company, Riley H. Mosely, III, and Elizabeth Mosely, Civil

Action No. 2017-CP-10-06109. (The last names of the Defendants Riley H. Moseley, III and
       2:18-cv-00008-MBS         Date Filed 01/02/18      Entry Number 1       Page 2 of 5




        2.                                                                                (Exhibit

A)

        3.                           asserts two claims, both arising from a commercial contract

dispute. In its first cause of action, the Complaint seeks a declaratory judgment regarding the

application, validity, and legality of a commercial contract. In the second cause of action, the

C

third party.

                          BASIS FOR FEDERAL JURISDICTION

        4.     This Court has jurisdiction over the removed action pursuant to 28 U.S.C. § 1331

(Federal Question), 28 U.S.C. § 1332 (Diversity of Citizenship) and 28 U.S.C. § 1367

(Supplemental Jurisdiction).

                          DIVERSITY OF CITIZENSHIP EXISTS

        5.     Upon information and belief, Plaintiffs are, and were at the time of the filing of

this action, corporate citizens of South Carolina. See Compl. at ¶ 1. Defendants Riley H.

Moseley, III and Elizabeth Moseley are domiciled in and therefore citizens of the State of

Georgia. See Compl. at ¶ 2.

        6.     Randem, Inc. is a corporation organized and existing under the laws of the State

of Georgia with its principal place of business located in the State of Georgia. See Compl. at ¶ 2.

Randem, Inc. is therefore a citizen of the States of Georgia. See 28 U.S.C. § 1332(c)(1)

                                                                                              ated



        7.     Accordingly, diversity of citizenship exists.
          2:18-cv-00008-MBS        Date Filed 01/02/18       Entry Number 1        Page 3 of 5




                  THE AMOUNT IN CONTROVERSY EXCEEDS $75,000

          8.    The amount in controversy in this case exceeds $75,000, exclusive of interest and

costs. See 28 U.S.C. §

actions where the matter in controversy exceeds the sum or value of $75,000, exclusive of interest



          9.    Plaintiffs                                                       ainst the Defendants,

punitive damages, the cost of bringing this action, and such other relief as this Court may deem

                             See Compl., ad damnum

relief.

          10.   In their Complaint, Plaintiffs assert that the dispute involves a sale and

                                                     See Compl. at ¶ 6. The contract at issue in this

case envisions purchase of those products in large lots, counted by shipping container numbers,

rather than individual

Randem already has suffered the loss of sales in the hundreds of thousands of dollars because of

                                   , and Plaintiff asserts in its Complaint a similar loss of sales. See

Compl. at ¶ 12.

cause of action are based upon the alleged illegality and invalidity of the contract at issue, which

                                        r the U.S. Anti-               See Compl. at ¶ 8.

          11.   The totality of these factors establishes that the amount in controversy exceeds

$75,000, exclusive of interest and costs. Thus, this action may be removed to this Court by the

Defendants under 28 U.S.C. § 1441(a) because (i) this matter is a civil action pending within the

jurisdiction of the United States District Court for the District of South Carolina; (ii) the action is
      2:18-cv-00008-MBS         Date Filed 01/02/18       Entry Number 1      Page 4 of 5




between citizens of different states; and (iii) the amount in controversy exceeds $75,000,

exclusive of interest and costs. 28 U.S.C. § 1446(c)(2)

                                TIMELINESS OF REMOVAL

       12.     Under 28 U.S.C. § 1446(b), this removal is timely. This Notice of Removal is

filed within 30 days of December 4, 2017, the date of service of the initial pleading upon all

Defendants.

                                 CONSENT TO REMOVAL

       13.     All Defendants join in this removal.

                                     VENUE IS PROPER

       14.     The United States District Court for the District of South Carolina is the proper

venue for removal under 28 U.S.C. § 1441(a). See 28 U.S.C. § 121(4).

                             ATTACHMENT OF ALL STATE PROCESS

       15.     As required by 28 U.S.C. § 1446(a), attached as Exhibit A is a copy of all process,

          pleadings, and orders served upon the Defendants.

                              FILING OF REMOVAL PAPERS

       16.     Pursuant to 28 U.S.C. § 1446(d), written notice of this removal has been provided

simultaneously to Plaintiff and the Court of Common Pleas, Charleston County, South Carolina.

       Based upon all of the foregoing, Defendants hereby remove the above-captioned action

from the Court of Common Pleas, Charleston County, South Carolina.




                      - SIGNATURE BLOCK ON FOLLOWING PAGE-
      2:18-cv-00008-MBS   Date Filed 01/02/18   Entry Number 1      Page 5 of 5




Dated: January 2, 2018              Respectfully submitted,


                                    /s/ Saunders M. Bridges, Jr.
                                    Saunders M. Bridges, Jr., Fed. ID #1472
                                    J. Boone Aiken, III, Fed. ID #269
                                    Aiken, Bridges, Elliot, Tyler & Saleeby, P.A
                                    181 East Evans Street, Suite 409
                                    Florence, South Carolina 29506
                                    Tel: (843) 669-8787
                                    Fax: (843) 664-0097
                                    E-Mail: smb@aikenbridges.com
                                             jba@aikenbridges.com

                                    ATTORNEYS FOR THE DEFENDANTS
